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is a minimum adjustment that Musika could have made. l.e., he could have excluded 56%, and
then applied his market share approach to the remaining 44%. A more reliable approach would
have excluded any consumer that indicated that platform was an important consideration, i.e.
the 38% that said it is the most important factor and the 50% that said it is a factor in purchasing
(i.6., 88% total). This last question is for all smartphone purchasers, so it would be preferable to
do a survey specifically geared towards Android (or accused product) purchasers, but Apple

could have easily done that given they conducted such a study.

e) Mr. Musika’s incremental profitability is overstated, resulting in
significantly overstated lost profits.

223. Mr. Musika calculates his incremental profitability using worldwide selling prices.
However, Apple sells its iPhone for a considerably higher price outside the United States, so Mr.
Musika’s calculation results in a significantly overstated profit for U.S. sales. For example, Q3
and 4 of its fiscal year 2010, using the U.S. selling prices would have reduced Mr. Musika’s

lost profits calculations by approximately 16 — 19 percent for smartphones.°"”

224. In addition to using worldwide profit calculations, Mr. Musika fails to deduct
marketing and advertising expenses in his incremental profitability analysis. The only operating
expense that Mr. Musika deducted in his analysis is sales expense, but his lost profits model
includes a large number of sales to customers on carriers other than the carriers that sell the
iPhone. If his analysis is correct, it is likely that a significant amount of additional marketing and

advertising would be required to reach such customers.

225. Therefore, | make a second adjustment to incremental profit by deducting the
marketing / advertising expense. When both U.S. prices are used and marketing / advertising
expenses are deducted, Mr. Musika’s lost profits would be reduced by 19 — 23 percent in Q3
and Q4 of fiscal 2010.°°°

5. Mr. Musika’s calculation of Samsung’s profits related to the infringement is
overstated.

226. For Apple’s design-related intellectual property, | understand that Apple may be

entitled to Samsung's profits related to the infringement. Mr. Musika calculates Samsung’s

°° Schedule 10.1. [1.2]
°2° Schedule 10.1. [1.2]

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profits two ways — the first deducting no expenses and the second based on Samsung's gross

margin.

227. As | describe below, Samsung is entitled to deduct all of its operating expenses
in its calculation of the profits related to the infringement of Apple's design-related IP. Further,
the majority of these profits are appropriately apportioned to the other elements of value that

Samsung contributes to the sales of the accused products.

6. Mr. Musika’s reasonable royalty analysis relies on unreasonable benchmarks
and results in an overstated concluded reasonable royalty rate.

228. As part of his report, Mr. Musika developed a reasonable royalty framework that
he used to calculate the monetary damages to be paid Apple in compensation for a portion of
Samsung’s alleged infringement. Specifically, Mr. Musika explained that in this case,
reasonable royalty damages “apply where other forms of damages are not available or cannot

be proved with reasonable certainty."

In general, such “reasonable royalty damage amounts
are expressed as a reasonable royalty rate times an accused base,””“* for example unit sales or
revenue derived from sales of the accused device. Mr. Musika’s accused base consists of “the
number of accused units sold and not revenue as the basis on which to calculate a royalty for

each asserted item of Apple Intellectual Property In Suit.”

229. With respect to the reasonable royalty rate, Mr. Musika employs three commonly
used methods of calculating benchmarks from which to derive a final royalty: the cost approach,
the market approach, and the income approach. These approaches, and my criticisms thereof,
are explained in more detail below. Once calculated, Mr. Musika uses these benchmarks to

derive his final royalty rates.°“

230. It is important to note, as explained in Section IV.A.2, that while Mr. Musika
explains that he “considered the effect of the entire market value of the products and elected to
structure my royalty damage on an individual per unit basis and not the total revenue of the

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accused products, each of his royalty benchmarks apportions some measure of Samsung’s

accused product revenue as if it were earned as a result of the IP at issue exclusively. In other

*21 Musika Report, p. 52. [2.2]
°22 Musika Report, p. 52. [2.2]
*23 Musika Report, p. 53. [2.2]
°* Musika Report, Exhibils 46-47. [2.2]
*25 Musika Report, p. 53. [2.2]

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words, while Mr. Musika’s royalty base is not total revenue, his royalty rates are based on his

measures of the total market values of the accused products.

a) Mr. Musika’s cost approach does not provide a reasonable value for
the intellectual property at issue.

231. In his Expert Report, Mr. Musika develops a cost-based reference point that
serves as one basis for his concluded royalty rate.°“° Mr. Musika derives this reference point
from what he calls “the opportunity cost represented by the amount of lost operating profits
incurred by Samsung during the period of time Samsung would have been out of the market
developing, designing, testing and implementing an acceptable non-infringing substitute.””’
However, Mr. Musika makes several unreasonable assumptions and omissions in his
calculation that materially affect his cost-based reference point. These points of contention,

along with a general overview of Mr. Musika’s cost-based approach, are described below.

(1} Mr. Musika’s Approach in General

(a) Smartphones

232. Mr. Musika calculates his smartphone reference point using the time period from
June, 2010 through December, 2011.°*8 This period begins on the date on which Samsung first
sold its accused smartphones in the U.S. and ends on the last date for which Samsung

provided data.*“?

233. First, Mr. Musika derives an “Average Gross Profit per Month for Accused
Products” during the time period described above.**’ He then multiplies that average by four
months; the period that he concludes represents the “N[umber] of Months Out of Market.”°" Mr.
Musika “based the period of time Samsung would have been out of the market ... on the opinion
of Apple’s technical experts as identified on Exhibit 20 and Samsung and Apple evidence
regarding the amount of time required in the ordinary course to design, develop, test and

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implement new smartphone and tablet features. This multiplication results in what Mr.

*25 Musika Report, pp. 54-56 and Exhibits 39-39.4. [2.2]

°27 Musika Report, p. 54. [2.2]

*23 Musika Report, Exhibit 39.4. [2.2]

*28 Samsung Financial Data, 2010-2011, SAMNDCA00372946-138 al ‘946, ‘949. [14.5]
3° Musika Report, Exhibit 39.4. [2.2]

57 Musika Report, Exhibit 39.4. [2.2]

°82 Musika Report, pp. 54-55. [2.2]

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Musika calls “Samsung's Total Loss Due to Redesign,” which he divides by the “Total Accused
Units Sold” during the prescribed time period to ascertain “Samsung’s Cost Value per Unit Due

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To Redesign.

234. From that point, Mr. Musika allocates his Cost Value per Unit between the utility
Patents-in-Suit and the design IP at issue. To do this, he simply assigns 25% of the Cost Value
to the utility patents, which encompass one type of IP, and 75% to the design IP, which

encompasses three types of IP (design patents, trade dress, and trademarks).”™*

235. Mr. Musika accounts for all design IP as one portfolio with one Cost Value
reference point.’ However, he further splits the Cost Value per Unit assigned to Apple’s utility
Patents-in-Suit among all such patents.*’* This allocation gives Mr. Musika his final Cost Value

per Unit reference points.

(b) Tablets

236. Mr. Musika uses the same method to calculate his tablet cost-based royalty
reference points. However, in this case he uses the time period October, 2010 through
December, 2011.°°’ Again, this period begins on the date on which Samsung first sold its

accused tablets in the U.S. and ends on the last date for which Samsung provided data.°”*

(2} Mr. Musika Assumes That Samsung’s Accused Products Must
be Taken Out of the Market During Redesign
237. As stated above, Mr. Musika makes the implicit assumption that Samsung would
have been “out of the market” while it redesigned its phones to avoid infringement of Apple’s

patents.

In other words, Mr. Musika claims that Samsung would have lost all sales of its
allegedly infringing products while designing around Apple’s patents. It is likely that the large
majority of these customers would have purchased another Samsung smartphone that is not
accused or waited until the redesigned smartphone was available given the customers have

already demonstrated a preference for a Samsung smartphone.

33 Musika Report, Exhibit 39.4. [2.2]

3 Musika Report, Exhibit 39.3. [2.2]

55 Musika Report, Exhibit 39.1. [2.2]

*3° Musika Report, Exhibit 39.1. [2.2]

37 Musika Report, Exhibit 39.4. [2.2]

38 Samsung Financial Data, 2010-2011, SAMNDCA00372946-138 at 119, ‘949. [14.2]
*8° Musika Report, p. 54, [2.2]

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(3} Mr. Musika Adopts an Artificial Time Period to Calculate an
Overstated Per Unit Cost to Design Around
238. As described above, Mr. Musika limits his calculation to the timeframe beginning
on the first U.S. sale date of the infringing products and ending on the last date for which
Samsung provided data. However, these end points do not accurately reflect the damages
period, which would extend from the date of the hypothetical negotiation (i.e. the date on which
the accused products were first sold) through the end of trial. Furthermore, this timeframe does
not correspond to the period that would have been covered by the hypothetical license to the

patents and other IP at issue.

239. Assuming the first date of trial is July 30, 2012, and that the trial is scheduled to
last thirteen court days, the damages period would extend through the 15" of August, 2012.°7°
This extends the period employed by Mr. Musika’s analysis by seven months and fifteen days in
the case of both smartphones and tablets. While this difference in time period would not likely
have a large impact on Mr. Musika’s “Average Gross Profit per Month for Accused Products,”"*"
it would have a large impact on “Total Accused Units Sold” which he divides into “Samsung's

Total Loss Due to Redesign’ to calculate “Samsung’s Cost Value per Unit Due To Redesign.”

240. ‘This point is illustrated below using Samsung's actual data. As the figure shows,
calculating Cost Value per Unit using only the first four months of data provided renders much
higher estimates than using the entire period as Mr. Musika does. For example, Samsung’s
smartphone average Gross Profit is lower, but still comparable when calculated for the first four
months only. However, the number of accused units sold during that period is approximately six
times smaller than that sold during the entire period. The result is a much smaller Cost Value
per Unit for Samsung’s smartphones. The same result would be observed if the period were to
be extended by seven months and fifteen days; Mr. Musika’s Cost Value per Unit would
decrease substantially. Note that this change is not based on any change in the underlying

value of the patents and other IP at issue, but rather on the length of the time period selected.

9 Minute Order and Case Management Order, August 25, 2011. [14.6]

**" If the calculation of Average Gross Profit per Month is limited to the first four months of sales, there
would be no impact at all. If not, any increase in monthly gross profit above the current average would
be spread across a larger time period, thus mitigating the upward impact.

“2 Musika Report, Exhibit 39.4. [2.2]

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Figure 34: Example of the Impact of Time Period Length in the Calculation of Samsung’s Cost
Value per Unit Due to Redesign’”

Smartphones
4-Month Cost
Value per Musika Cost
Unit Value per Unit

U.S. Average Monthly
Gross Profit

Months Out of Market
Loss Due to Redesign

Accused Units Sold
Cost Value per Unit

Tablets
4-Month Cost
Value per Musika Cost
Unit Value per Unit

U.S. Average Monthly
Gross Profit

Menths Out of Market
Loss Due to Redesign

Accused Units Sold
Cost Value per Unit

241. As described in my analysis of Georgia-Pacific factor 7, the utility and design
Patents-in-Suit expire no earlier than September 29, 2014 (the ‘002 Patent) and at latest
January 22, 2030 (the ‘129 Patent). Since the hypothetical negotiation would yield a license
that extends through the expiration date of the last to expire of the licensed patents, this would
extend the royalty period by around eighteen years when compared to the period that Mr.

Musika uses. This extension would serve to decrease the Cost Value per Unit even further.

(4) Mr. Musika Does Not Include Operating Expenses in His
Calculation of the Profit Samsung Would Have Lost While
Redesigning Its Accused Products
242. Instead of using Samsung's Operating Profit, Mr. Musika begins his calculation

with “Average Gross Profit per Month for Accused Products,” which deducts from revenue only

“3 Schedule {16.2}. [1.2]

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d.*“4 Since Mr. Musika fails to include

Samsunq’s manufacturing entity’s Cost of Goods Sol
Operating Expenses in his calculation of “Samsung’s Cost Value per Unit Due To Redesign,” he
is essentially arguing that Samsung would have incurred Operating Expenses on the sale of its
accused products even if it had not sold those products. This assumption is incorrect, because
Samsung would not have engaged in the activities that generated those expenses had it not

actually sold those products.

243. This oversight leads Mr. Musika to overstate Samsung's profit from the sale of
accused products and thus overstate “Samsung's Cost Value per Unit Due To Redesign.” As
shown on Mr. Musika’s Exhibit 37, his calculation of Samsung’s accused smartphone Gross
respectively. Comparatively, | have calculated the 2010 Consolidated
nd in 2011 as

Using the consolidated average selling prices (ASP) of Samsung’s accused

Operating Profit across the accused smartphones in 2010 as

smartphones he appropriate Operating Margins come

to in 2010 and 2011.

244.

Margins of

With respect to Samsung's accused tablets, Mr. Musika calculates Gross
or 2010 and 2011 respectively.’ My calculations show Operating

Margins of

245. Clearly, the use of Operating Margins in place of Gross Margins in Mr. Musika’s
cost approach would have yielded significantly lower Cost Value per Unit estimates.
Interestingly, it appears that Mr. Musika meant to use Operating Profits in his calculation. He
states in his report that he “limited [his] calculation of this cost [the cost to replace or remove the
accused technology] to the opportunity cost represented by the amount of lost operating

profits incurred by Samsung during the period of time Samsung would have been out of the

*“ Musika Report, Exhibits 37 and 38. [2.2]
“> Musika Report, Exhibit 37. [2.2]

8 Schedule {4.3}. [1.2]

“T Schedule {4.4}. [1.2]

8 Schedule {4.3}. [1.2]
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market ...”°°° (emphasis added) While ultimately Mr. Musika uses Gross Profit, the use of

Operating Profit would have been the more appropriate measure of profitability in this case.

b} Mr. Musika’s income approach does not provide a reasonable value
for the intellectual property at issue.

246. ‘In addition to the cost approach, Mr. Musika also employed an income approach
to derive a reasonable royalty benchmark. He explained that “[t]he theory behind an income
approach is that the value of the patent at issue is equal to the future profitability of the products

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embodying the patented technology. Importantly, Mr. Musika noted that Samsung’s “net

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operating income produced through the sale of a smartphone and tablet ...” “is not the result of

the deployment of any single asset. Rather it represents a composite return on all assets.”°”

(1} Mr. Musika’s Approach in General.

247. Mr. Musika began his “analysis by reviewing the work performed by the
international company Interbrand,” which “identifies itself as the ‘world’s largest brand

consultancy.””°°8

Mr. Musika explained that Interbrand releases an “annual Valuation and
ranking of the top 100 brands in the world,” the valuation method of which “is an income based
approach” that “starts with a company’s overall financial performance and separates the portion
of a company’s overall performance that relates to the intangible brand.”*°? “Interbrand’s actual
calculation is: operating profits less taxes less an industry weighted average cost of capital
(WACC) equals economic value added (EVA). Interbrand then applies its own proprietary factor

to the total EVA to determine the role of and ultimately the value of a company’s brand.””*”

248. Mr. Musika claims to follow Interbrand’s method by first calculating Apple’s
companywide EVA. Next he “deduct[s] the amount of the premium earnings that Interbrand has
calculated that are due to the value of Apple’s overall brand”* by (i) multiplying Apple’s

companywide operating margin by the ratio of Interbrand’s brand valuation of Apple to Apple’s

°° Musika Report, p. 54. [2.2]
°° Musika Report, p. 62. [2.2]
°°? Musika Report, p. 62. [2.2]
°8 Musika Report, p. 63. [2.2]
°° Musika Report, p. 63. [2.2]
°° Musika Report, pp. 63-64. [2.2]
°81 Musika Report, p. 64. [2.2]

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market capitalization,“ which he calls “Brand/Design Value, and (ii) subtracting that value

from Apple’s companywide EVA.*™*

249. The resulting “EVA net of brand value” is renamed the “Value of the Company’s
Other Intangibles” and then subtracted from Apple’s iPhone and iPad combined EVA net of
brand value.** This value, according to Mr. Musika, is the “Value of iPhone and iPad Combined

_.. Intangibles.”"®°

250. Mr. Musika replicates this analysis with respect to Samsung’s accused products.
He then calculates per unit rates for the utility Patents-in-Suit by multiplying his calculated
“Value of Intangibles” by the companies’ respective combined smartphone and tablet ASPs.°*”
His per unit rates for the design IP at issue use the same ASPs, but replace “Value of

Intangibles” with “Brand/Design Value.”°**

251. Finally, Mr. Musika allocates these per unit value among the various items of IP
at issue to derive per unit reference points for each item of IP.° He claims he did so “based on

the relative strength of each utility patent ...”°”°

252. While Mr. Musika’s analysis is claimed to be based on a reliable methodology,
Mr. Musika’s application of the methodology leads to an unreliable and overstated result. | have

described my main concerns with this analysis in the paragraphs that follow.

(2} Interbrand’s Brand Valuation Does Not Measure the Value of
Any of the IP at Issue.
253. The main assumption upon which Mr. Musika’s income approach relies is that
Interbrand’s calculation of brand value somehow relates to the design IP at issue in this matter.
However, it doesn’t appear that Interbranad’s calculation is meant to value design at all. Rather,

“[t]here are three key aspects that contribute to the [Interbrand Value] assessment: the financial

982 Musika Report, Exhibit 41.5. [2.2]
*83 Musika Report, Exhibit 41.3. [2.2]
°° Musika Report, Exhibit 41.3. [2.2]
*6° Musika Report, Exhibit 41.3. [2.2]
°° Musika Report, Exhibit 41.3. [2.2]
°°? Musika Report, Exhibit 41.2. [2.2]
68 Musika Report, Exhibit 41.2. [2.2]
°° Musika Report, Exhibit 41. [2.2]
°7° Musika Report, p. 66. [2.2]

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performance of the branded products or services, the role of brand in the purchase decision

process, and the strength of the brand.”*”'

254. From Interbrand’s perspective, “role of brand reflects the portion of demand for a
branded product or service that exceeds what the demand would be for the same product or
service if it were unbranded.””? This statement indicates that the Interbrand calculation may
actually be exclusive of design. At the very least, Interbrand’s measure of brand value includes
much more than just design IP. As Jez Frampton, Interbrand’s Global Chief Executive, said in
Interbrand’s Best Global Brands 2011 report, “customers interpret [a] brand as a result of every
interaction; from culture to product, from environment to communications.”””* Since Mr. Musika
assumes that Interbrand’s valuation is, in fact, the value of Apple’s design IP, he has vastly
overestimated its value. Indeed, it is not clear that Interbrand’s study that is used as the basis
for Mr. Musika’s design-related IP valuation has any connection to design, and certainly not the

limited design-related IP at issue in this lawsuit.

255. Further, the trade names Apple / iPhone / iPad are important sales drivers,
indicating that if the Interbrand value does include some element of design, it would be a very
small portion. A Competitive Tablet Product Experience report by Samsung points out that
brand is one of “the most important factors taken into consideration when purchasing a tablet,”
and that “Apple brand is most desirable compared to all other brands.”"* In a March 2011
Samsung Customer Survey, Apple received the highest purchase reason for brand.°”°
According to ComTech reports commissioned by Apple, the Apple brand remains the top reason
for consumers choosing iPhones, with more than one third stating this as their reason for

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handset choice.°”® Greg Joswiak, Apple Vice President of iPod, iPhone and iOS Product

Marketing, also testified that in his experience, the Apple brand is an important reason for

571 Best Global Brands 2011, Methodology, Interbrand. [5.39]

°”? Best Global Brands 2011, Methodology, Interbrand. [5.39]

*”3 Best Global Brands 2011, Interbrand, p. 3. [4.19]

°7* Competitive Tablets Product Experience - Form Factor & Display Size / Aspect Ratio Validation
Research Report, August 28, 2011, SAMNDCA00G28006-166 at ‘008. [4.8]

°?° Customer Survey Result, March 11, 2011, SAMNDCA00235804-830 at ‘809. [4.9]

°”8 ComTech United States Report, Q111, Apple Market Research & Analysis, May 6, 2011,
APLNDC0002831037-088 at ‘058. [4.10] See aiso ComTech Global Report @311, Apple Market
Research & Analysis, November 18, 2011, APLNDC0002473754-796 at ‘776. [4.11] See also
ComTech USA Report 0411, Apple Market Research & Analysis, February 10, 2012, APLNDC-
¥0000148505-555 at ‘513 and ‘526. [4.12] See also ComTech Global Report Q211, Apple Market
Research & Analysis, August 12, 2011, APLNDC0002640687-727 at ‘709. [4.13] See also ComTech
USA Report @211, Apple Market Research & Analysis, August 5, 2011, APLNDC0002640958-1004 at
‘979. [4.14] See also ComTech USA Report Q311, Apple Market Research & Analysis, November 11,
2011, APLNDC0C02641 020-069 at ‘028 and ‘041. [4.15]

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purchasing an Apple product.°””

In a July 2011 STA Post Launch Consumer Insights study,
Samsung found that being “Not Apple Branded” was the major sales deterrent to the Galaxy

Tab 10.1.°78

(3} Mr. Musika’s Calculation of Brand/Design Value and Value of
Intangibles are Misguided.

256. As explained above, Mr. Musika estimated Apple’s companywide “Brand/Design

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Value” “by multiplying [Apple’s] operating profit by the ratio of its brand value to market

capitalization ...”°”°

Notwithstanding the fact that Interbrand’s brand value figures represent
much more than overall design, and specifically Apple’s design IP at issue, this calculation
implies that operating margin and market capitalization are comparable measures. From a
different perspective, this calculation assumes that “Brand/Design Value” and operating margin
share the same relationship, if such a relationship exists, as Apple’s brand value and market

capitalization.

257. This, however, is not the case. Operating margin is a measure of the profitability
of a company’s operating activities over a specified time period. Market capitalization, on the
other hand, is calculated by multiplying a company’s total number of outstanding shares by the
value of an individual share. Thus, market capitalization is the market’s valuation of a company,
including the value of current and future operations, as well as all real and intangible assets

owned by that company.

258. Since Mr. Musika employed an inappropriate calculation of “Brand/Design

Value,” it follows that his calculation of the value of other intangibles is incorrect as well because

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it was calculated as EVA minus “Brand/Design Value. However, what is even more

problematic is that Mr. Musika renamed what he initially called “Value of Intangibles,” using it to

»°8" This conversion was

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calculate what he concluded was a “Per unit rate for utility patents.
both unexplained and not supported by the facts. As has been acknowledged by Mr. Musika,

and discussed in this report, the value of both smartphones and tablets are derived from a vast

*”” Deposition of Gregory Joswiak, Volume ||, February 24, 2012 p. 399. [9.3] See also Deposition of

Gregory Joswiak, Volume |, February 23, 2012, p. 60. [9.2]

978 Samsung Presentation: STA Post Launch Consumer Insights. July 2011, SAMNDCA00027781-844 at
779. [4.16]

*”5 Musika Report, Exhibit 41.3, [2.2]

8° Musika Report, Exhibit 41.3, [2.2]

*8" Musika Report, Exhibit 41.2, [2.2]

°8? Musika Report, p. 52, [2.2]

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array of feature sets not limited to the IP at issue. Mr. Musika, ignoring his own assertions, is

implicitly claiming that his “Value of Intangibles” is the exclusive result of the specific IP at issue.

(4) Mr. Musika’s Use of WACC is Inappropriate, and Has No Effect
on His Calculation.

259. Mr. Musika’s calculation of industry WACC, which he uses to determine EVA in
his income approach, is not an appropriate measure. While Interbrand does use in its EVA
calculation a “capital charge rate ... set by the industry weighted average cost of capital
(WACC),” the brand management firm does not disclose just how it calculates such a WACC.
Given this uncertainty, Mr. Musika simply chose eleven U.S. companies that appeared in
Interbrand’s 2010 or 2011 top 100 brands report.*®* Further, these companies were limited to

Interbrand’s computer software, electronics, or internet services industry categories.

260. A closer examination of these companies, however, shows that they are actually
very different financially and probably do not provide a useful industry WACC benchmark. For
example, | have gathered information on each company’s operating margin for the years 2010
and 2011, where available, and compared it to the corresponding companywide WACC. While
the company WACCs provided by Mr. Musika are relatively similar to each other, their 2010
operating margins run the gambit from 4.1% for Amazon.com to 38.6% for Microsoft.” The

same is true of 2011; operating margin ranges from 1.8% for Dell to 38.8% for Microsoft.*°

261. As part of his income approach, Mr. Musika also used the same “Industry
Weighted Average Cost of Capital” to calculate Apple’s companywide EVA, Apple’s iPhone and
iPad combined EVA, and Samsung’s accused product EVA.°®’ However, since WACC is the
same for both Apple companywide and iPhone and iPad combined, changes in WACC have no
effect on the final result. In other words, a change in WACC has the same net effect on Apple’s
companywide EVA net of brand value as it does on Apple’s iPhone and iPad combined EVA net
of brand value. Since the former is ultimately subtracted from the latter in Mr. Musika’s analysis,
the net effect of a change in WACC is no effect on his calculation. That is, no matter whether

the WACC was 0% or 1000%, Mr. Musika would have derived the same values.

83 Musika Report, Exhibit 41.4, [2.2]
*8* Musika Report, Exhibit 41.4, [2.2]
8° Schedule {16.1}. [1.2]
785 Schedule {16.1}. [1.2]
°8? Musika Report, Exhibit 41.3, [2.2]

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(5) Mr. Musika is simply splitting the “economic value” of the iPad
and iPhone to the specific IP asserted in this lawsuit.
262. In its basic form, Mr. Musika’s analysis simply calculates the profitability of the
iPhone and the iPad, subtracts the profitability of all Apple products, and splits that profitability
between the utility patents and the design-related IP. It is simply not justified and not

appropriate to conclude that 100% of this value is related to the limited asserted IP in this case.

(6} Mr. Musika’s analysis results in an overstated conclusion for the
excess profitability of iPad / iPhone versus the company as a
whole.

263. Mr. Musika’s analysis’s use of worldwide profitability for the iPhone and iPad and
comparing it to worldwide profitability for all Apple products (which include computers). First,
computers are in a notoriously competitive industry, and therefore profitability of Apple as a
whole would be expected to be lower regardless of whether the asserted IP was worthless or

valuable. This suggests that the comparison that Mr. Musika’s analysis relies upon is

meaningless.

264. Second, as explained elsewhere, the use of worldwide prices for the U.S. and
worldwide significantly overstates the profitability of the iPad and iPhone products because
Apple’s U.S. ASP for these products are considerably lower than its worldwide price. Although |
am not aware of Apple producing data on this, in my experience computer prices are higher in
the U.S. versus worldwide, so using the worldwide data would tend to understate Apple’s

computer profitability.

265. Finally, the unreliable nature of Mr. Musika’s calculation is demonstrated by the
fact that if Mr. Musika has performed his calculation separately for iPad and for iPhone, he
would have found that the iPad profitability is lower than the overall company profitability, which
would have resulted in his calculation of a negative royalty rate for the asserted IP with respect
to the iPad.**°

(7} Mr. Musika uses an understated tax rate for Samsung, and if he
had used the correct rate he would have found a negative
royalty rate.

988 Mir. Musika reports an operating income offi for iPad in Exhibit 33, compared to the company wide

operating income of 30.1%. (Musika Report, Exhibit 33, 41.3. [2.2])

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However, for

Apple, Mr. Musika is using the consolidated company’s effective tax rate reported in Apple’s
financial statements. Similar to Apple, Samsung pays taxes in many countries around the
world, the primary country being Korea where it is headquartered. If Mr. Musika had applied a
similar methodology as for Apple, he would have used a 20% effective tax rate for 2011.°°° If
this rate had been used, Mr. Musika’s analysis would have calculated a negative value for
intangibles for Samsung, which based on Mr. Musika’s logic would demonstrate that Samsung

derives no value (or negative value) from its use of the asserted utility patents.

(8} Mr. Musika calculates the maximum royalty rate that Samsung
would be willing to pay, but then ignores the rate.
266. Mr. Musika calculates royalty rate values for Apple, but then appears to
completely ignore those values in his royalty rate conclusion. Given that he is collecting lost
profits in his scenarios where he has presented a reasonable royalty, it is unclear why the value

he calculates for Apple has any significance to the conclusion.

c}) The other benchmarks mentioned by Mr. Musika are not relevant to
the reasonable royalty analysis.

267. As Mr. Musika explained, “[t]he market approach to the valuation of intellectual
property is based on the consideration of other market comparable transactions.””° In this
analysis, Mr. Musika explained that he “reviewed and analyzed both Apple and Samsung's
licensing activity and searched the public domain for market comparable rates specific to or
comparable to the Apple Intellectual Property In Suit.”°°" While Mr. Musika concluded that the
three potentially relevant Apple agreements he discovered “do not provide a relevant
comparable reference rate for the Apple Intellectual Property In Suit,” °°? he inappropriately turns

to Apple’s Made for iPhone, iPad, and iPod program as a reference point.°”

268. This program, which “made it possible for third parties to manufacture an

accessory and with Apple’s permission place a ‘Made for iPod’ logo on the packaging in

58° Consolidated Financial Statements of Samsung Electronics Co., Ltd. and Subsidiaries as of December

31, 2011, p. 67. [3.5]
°° Musika Report, p. 56. [2.2]
* Musika Report, p. 56. [2.2]
°°? Musika Report, p. 58. [2.2]
*°3 Musika Report, p. 60. [2.2]

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exchange for a fee ...” of $4 per unit, was considered “a floor for the license of any single item
of intellectual property contained in the asserted design patents, trade dress, and

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trademarks. Despite his conclusion, Mr. Musika acknowledged that “this license is not a

comparable license to any of the Apple Intellectual Property In Suit ..."°*°

269. | share Mr. Musika’s opinion that this license is not comparable. Most
importantly, this license has nothing to do with Apple’s design IP at issue. Mr. Buckley
described this program as follows: “[s]o if | wanted to be a part of it and | made cases for my
iPods, | could put that little Made For iPod sticker on my ... product to advertise it being made

for iPod.”

In short, it is an indefensible assertion that this agreement provides any useful
information to the analysis of a reasonable royalty rate in this matter, let alone a per unit royalty
floor for any single item of design IP. Mr. Musika offers no explanation of his assertion and | do

not find this license at all relevant to this matter.

d} Mr. Musika’s analysis does not take into account several data points
that would result in a much lower reasonable royalty rate.

270. Mr. Musika’s discussion of the market derivation of a reasonable royalty
benchmark excludes certain considerations that would place downward pressure on his
suggested royalty rate. While he postulates that there is “No Market Rate” for any of the IP at
issue,” there still exist important circumstances, embodied in both licensing discussions and

agreements that can serve as tests for the reasonableness of Mr. Musika’s conclusions.

271. Mr. Musika begins his market benchmark analysis by proposing five theories on
which he bases his discussion.*”® The first four of these theories serve to characterize Apple as
an organization that, as a general principal, dces not license its patented technology to third
parties.°°° For example, as Mr. Musika points out, the testimony of Apple’s former Chief Patent
Counsel, Mr. Richard Lutton,°°° indicates that Apple was not willing to license its design patents

to Samsung.*"' Mr. Lutton also indicated that Apple was willing to provide “[a] license to some

5° Musika Report, pp. 60-61. [2.2]

°° Musika Report, p. 60. [2.2]

*°8 Deposition of Mark Buckley, February 23, 2012, p. 58. [5.2]
*°? Musika Report, Exhibils 46 and 47. [2.2]

°°8 Musika Report, p. 56. [2.2]

8 Musika Report, p. 56. [2.2]

°° Deposition of Richard J. Lutton, Jr., July 26, 2011, p. 8. [14.7]
51 Musika Report, p. 56. [2.2]

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"802 However, Mr. Musika excluded from his discussion that Apple

scope of utility patents ...
viewed Samsung as a valuable partner with which it was willing to work hard to resolve the

alleged infringement.

272. This fact is evidenced, again, by Mr. Lutton’s testimony. According to Apple’s
former Chief Patent Counsel, Apple was “very concerned about the ... theft of intellectual
property and ... were it not for the relationship between the companies ... Apple would have ...
proceeded down a different path” and sued Samsung immediately, rather than engaging in
discussions.°* Mr. Lutton recalled that during a meeting on August 4, 2010 between the two
companies, Apple “wanted to make clear to Samsung that [Apple] viewed [Samsung] as a key

partner.”°™4

While Apple thought that Samsung was “using, inherently in the Android-based
systems, a lot of utility patents ...,” Mr. Lutton noted that Apple was “committed to working with
[Samsung] to try to find a path through ... that both parties could live with.”°°> Though, as Mr.
Lutton explained, “Apple never intended to license Apple’s design patents to Samsung, ...
[Apple was] committed to working with them on an appropriate license so that they could
continue to sell products that used [Apple’s] utility patents in their smartphones ..."°°° Again,
Apple took that position “in recognition of [Samsung] as a key partner that ... [Apple] wanted to

engage ... in that negotiation and ... take that seriously.”°"”

273. It is clear from Mr. Lutton’s testimony that Apple’s relationship with Samsung
opened the door to negotiations between the parties. In order to preserve the fruitful business
relationship between them, it is likely that Apple, at a hypothetical negotiation, would have been
amenable to a lower licensing rate for Samsung as one of its “key partners.” Mr. Musika’s
failure to consider this aspect of the business relationship of the two parties results in a possible

overestimation of the reasonable royalty rate.

274. In addition to the parties’ relationship, Mr. Musika also ignored a few important
aspects of their 2010 meetings that could have informed his reasonable royalty analysis. During

an October, 2010 licensing discussion with Samsung, Apple began “framing what would be an

8°2 Deposition of Richard J. Lutton, Jr., July 26, 2011, p. 53. [14.7]

®°3 Deposition of Richard J. Lutton, Jr., July 26, 2011, pp. 36-37. [14.7]
®° Deposition of Richard J, Lutton, Jr., July 26, 2011, p. 51. [14.7]

°° Deposition of Richard J. Lutton, Jr., July 26, 2011, pp. 51-52. [14.7]
®°8 Deposition of Richard J. Lutton, Jr., July 26, 2011, p. 117. [14.7]

®°? Deposition of Richard J. Lutton, Jr., July 26, 2011, p. 117. [14.7]

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eventual license relationship around the utility patents ...°°° This framework provided “a set of

licensing potential outcomes that the parties might work out on [those] patents.”

275. At an October meeting, Apple modeled “3 types of patent licenses to cover

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wireless and computing technologies. Respectively, these three proposed licenses would

have covered “[bJasic telephony (e.g. wireless standards, java, processor, graphics, misc HW),”

”

“Apple Computing technologies (e.g. O/S, object oriented, etc.),” and “Advanced iPhone

Technologies needed to create an ‘advanced’ class device (e.g. Touch, GUI, apps, music,

161 4

etc.). Apple noted that “[eJach license include[d] distinct technologies, so an iPhone

advanced mobile class device would require all 3 licenses, while a basic phone would require

only the phone license.”°

276. This 3-tiered licensing scheme resulted in Apple’s proposal of $30 per licensed
smartphone, including Android units, and $40 per licensed touchscreen tablet, “[rjeducing to
$30 over 2 years.”""* There are two important facts to keep in mind regarding these proposed
rates: 1) they represent initial offers by Apple that likely would have been negotiated downward
during the course of a normal licensing discussion, and 2) they represent licensing rates that

cover a much larger scope of technology than the limited IP at issue in this case.

277. To elaborate on the second point, based on Apple’s 3-tiered proposal, it is clear
that the proposed licensing rates encompass much more than just the IP at issue in this matter.
Specifically, the accused utility patents disclose technology for touchscreen hardware (the ‘607
and ‘129 Patents), touchscreen software (the ‘915 Patent), and GUI features (the ‘002, ‘891,
‘381, and ‘163 Patents). It would appear that all of the Utility Patents-in-Suit fall into the
“Advanced Mobile” category of Apple’s licensing framework, which includes the “Touch” and

“GUI” capabilities needed to make an advanced iPhone-like device.°“

®°8 Deposition of Richard J. Lutton, Jr., July 26, 2011, p. 181. [14.7]

®°° Deposition of Richard J. Lutton, Jr., July 26, 2011, p. 181. [14.7]

5° Exhibit 11 to Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,
APLNDC00010886-903 at ‘893. [14.8]

Exhibit 11 to Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,
APLNDC00010886-903 at ‘893. [14.8]

51? Exhibit 11 to Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,
APLNDC00010886-903 at ‘893. [14.8]

Exhibit 11 te Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,
APLNDC00010886-903 at ‘897. [14.8]

Exhibit 11 to Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,
APLNDC00010886-903 at ‘893. [14.8]

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278. Furthermore, Apple’s proposed “Advanced Mobile” license included technology
that is not at issue in this suit. For example, Apple noted in its October, 2010 presentation that
the advanced class of device delivered both “apps” and “music,”°° technology that Apple’s
Patents-in-Suit do not cover. It follows from the above that Apple’s $30 and $40 royalty
proposals greatly overstate the reasonable royalty for at least the Utility Patents-In-Suit because
these rates include rights to at least two categories of irrelevant IP to the hypothetical license in
this case, while the remaining category includes the IP at issue in addition to technology outside
of the scope of this matter. This is clear from Apple’s second lawsuit they have filed against
Samsung, in this same court, that is seeking damages and an injunction of patents that are not

at issue in this lawsuit.

279. While Mr. Lutton often testified that Apple was unwilling to license its design IP to
Samsung, Apple's October 5, 2010 presentation suggests otherwise. As described in the slide
deck, Apple was “willling] to provide Samsung with a number of options for obtaining the most
cost-effective [as] possible license to [its] patent portfolio.”°"° This included the possibility of four

separate and cumulative discounts, as shown in the slide below.*"””

51 Exhibit 11 to Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,
APLNDCO00C1 0886-903 at ‘893. [14.8]
Exhibit 11 te Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,
APLNDCO0001 0886-903 at ‘900. [14.8]
Exhibit 11 to Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,
APLNDCO00C1 0886-903 at ‘900. [14.8]

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Figure 35: Potential Discounts for Licenses to Apple’s Patents

We will provide Samsung with a number of options for obtaining the
most cost-effective possible license to our patent portfolio

Samsung | 20% Discount
Pontolio
Advanced
Mobile
Computing SUS 30/ unit x
Device Apple- 40% Di
Royalty Rate fpereeticnes) 70° Discount
Apole-
licensed 20% Discount
Tablet ; Processors
Royalty Rate $US 40 unit x
Not Using St
Proprietary 20 4 Discount
Features

280. The fourth possible discount to Samsung, “Not Using Proprietary Features,” was
made available because “[s]ome Samsung ‘smartphone’ products may not adopt [the] distinctive

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industrial designs, software platforms or feature sets. Clearly, the industrial design was

contemplated in the creation of this presentation. Notably, despite his assertions to the
contrary, Mr. Lutton was unable to point to any information in the October 5, 2010 presentation
that indicated that Apple’s design patents were not available for license; rather, he could only
state that he thought “it was clear in [the parties’] discussions, the context of [the parties’]

discussion, that Apple expected Samsung to change its design.”""”

281. This information provides a cear maximum to Apple's valuation of its design IP in
this specific licensing context. Apple proposed that those Samsung devices that steered clear
of Apple's proprietary features, the Samsung Blackjack || for example, would receive a 20%
discount from the $30 base royalty per smartphone or $40 base royalty per tablet." In other

words, Apple valued its proprietary features, which, as described above, included industrial

58 Exhibit 14 to Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,

APLNDC0001 0886-903 at ‘898. [14.8]
°" Deposition of Richard J. Lutton, Jr., July 26, 2011, pp. 186-190. [14.7]

®0 Exhibit 11 to Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,
APLNDCO00010886-903 at ‘901. [14.8]

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designs, software platforms, anc feature sets, al 20% of $30 for smartphones or 20% of $40 for
tablets, $6 and $5 per unit respectively, This fact is Ignored in Mr, Musika’s analysis,

282, Apple confirmed this interpretation by explicitly removing the discount for non-use
of proprietary features on a slide that pictures what appear to be two of Samsung’s accused
products, This slide indicates thal use of Apple's industrial designs, software platforms, or
feature sets by Samsung's accused products would eliminate the 20% discount, thus subjecting
the devices that Use such accused |P to a royally rate $6 or $5 higher than their non-infringing

counterparts,"

Figure 36: Apple's Propesed Discounts for Samsung's Android-Based Full Touchscreen Devices

EXAMPLE 2: Android-based full touch screen devices

en Croes ficense
« 20% discount

Apole Completely unlicensed

licensed O/S Android OS
- No discouat

Apple-

liGensed nS
Processors
Dee Full (auch screen device
pielary - No discount
Festures
Tote! 20% discount

283, While itis unclear what Apple meant by the tenns “software platforms or feature
sels’ when describing its proprietary features, it seems likely thal al least certain of the Utility
Patents-In-Suit fall within that category, As described above, Apple’s October 5, 2010 licensing

®"| Behibit 71 to Luton Deposition, SamsungApele Licensing Discussion, October 5, 2040.
APLNDCO00 1088-903 at "S02. [14.8]

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discussion concluded that its operating system fell under the category of “Apple Computing

technologies,” while touch and GUI fell under “Advanced iPhone Technologies.”°”

284. ‘It is important to keep in mind the distinction among these technologies because
one of the explicitly stated available discounts is for the “use of an OS largely licensed to Apple
patents ...”°°° This may indicate that both touch and GUI are contained within Apple’s definition
of “software platforms or feature sets.” However, if this is not the case, it would appear that
touch and GUI would fall into the “Apple licensed O/S” category of discounts. If this is the case
(i.e. all utility and design IP at issue were considered either proprietary features or licensed O/S
features), then Apple valued the IP at issue at no more than 60% (40% discount for use of a
licensed O/S plus 20% discount for non-use of proprietary features) of the base royalty: 318 per
smartphone and $24 per tablet. Again, these valuations include a much larger portfolio of
technology than what is at issue in this case, indicating that the actual value of the IP at issue is

substantially less than these maximum values.°“4

285. To provide yet ancther alternative, if Apple’s multi-touch and GUI Patents-in-Suit
are not included in any of the available discounts, then they could be included in the residual
royalty due on a smartphone that was eligible for certain other discounts. For example, a
Samsung smartphone using Windows Mobile 7 would have been subject to a $9 royalty, under

Apple's framework, after accounting for the appropriate discounts.°”°

This, coupled with the
20% discount for Apple’s proprietary features, yields a $15 maximum royalty for smartphones.
Since the tablet base royalty is 33% higher than that for smartphones ($40 compared to $30),

the implied royalty rate would have also been 33% higher: 133% of $15 is $20 per unit.

286. While, as explained above, Apple’s proposed license to Samsung does imply a
maximum royalty, if it is determined that certain Apple IP was not available for license, then a
reasonable royalty in relation to that IP is not an appropriate remedy. Mr. Musika, instead of
explaining the concept of calculating a reasonable royalty in a situation in which a royalty never

would have materialized, asserts that these circumstances warrant “a very high but un-

§22 Exhibit 11 to Lutlon Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,

APLNDC00010886-903 at ‘893. [14.8]
623 Exhibit 11 to Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,
APLNDCO00010886-903 at ‘898. [14.8]
Also note that Apple’s smartphones are not accused of infringing the ‘607 and ‘129 Patents-in-Suit that
describe touchscreen hardware. This also indicates a lower smartphone royalty rate.
Exhibit 11 to Lutton Deposition, Samsung-Apple Licensing Discussion, October 5, 2010,
APLNDC00010886-903 at ‘903. [14.8]

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quantifiable rate for Apple’s asserted design patents and tradedress.”°°

Instead of attempting
to calculate a reasonable royalty for such IP, Mr. Musika should have concluded simply that the

reasonable royalty remedy was not available in this case.

287. = In addition to overlooking the facts described above, Mr. Musika, while he does
calculate an implied royalty rate, essentially ignores Samsung’s licensing proposal to Apple.
This proposal is an indication of Samsung’s starting point for the hypothetical negotiation
framework. As Mr. Musika calculated, Samsung’s proposal implied an approximately 34 to
$4.50 per unit license for both Apple and Samsung’s smartphones and tablets.’ Further, as
Mr. Musika notes, this is a rate for a portfolio of patents not limited to the Patents-in-Suit.°”
Since the hypothetical negotiation framework assumes an arms-length, bilateral negotiation
between the parties involved, it is unreasonable to disregard a rate actually proposed by one of

the relevant entities.

288. Finally, supplementing the analysis provided above, Samsung entered into a
Confidential Patent License Agreement with Microsoft, effective July 1, 2011, that provided each

party a worldwide, nonexclusive license to the other party’s entire portfolio of patents filed on

° Pursuant to this

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before the end of the license term, which would extend for seven years.°?

license, each party was granted the right to make, use, and sell certain licensed products.

With respect to Samsung, the licensed products included both Android smartphones and

tablets."

826 Musika Report, p. 56. [2.2]

®2? Musika Report, Exhibit 40. [2.2]

828 Musika Report, Exhibit 40. [2.2]

®29 Confidential Patent License Agreement between Microsoft Corporation and Microsoft Licensing GP
and Samsung Electronics Co., Ltd., July 1, 2011, S-794-ITC-005517484-506 at ‘484, ‘490, ‘497.
[15.12]

Confidential Patent License Agreement between Microsoft Corporation and Microsoft Licensing GP
and Samsung Electronics Co., Ltd., July 1, 2011, S-794-ITC-005517484-506 at ‘490. [15.12]

®31 Confidential Patent License Agreement between Microsoft Corporation and Microsoft Licensing GP
and Samsung Electronics Co., Ltd., July 1, 2011, S-794-ITC-005517484-506 at ‘489. [15.12]
Confidential Patent License Agreement between Microsoft Corporation and Microsoft Licensing GP
and Samsung Electronics Co., Ltd., July 1, 2011, S-794-ITC-005517484-506 at ‘494. [15.12]
Confidential Patent License Agreement between Microsoft Corporation and Microsoft Licensing GP
and Samsung Electronics Co., Ltd., July 1, 2011, S-794-ITC-005517484-506 at '485. [15.12]

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291. This license may provide a useful benchmark with which to evaluate the
hypothetical license because it is essentially a license to manufacture and sell smartphones and

tablets running the Android operating system.

e) Mr. Musika takes into account inappropriate considerations in his
Georgia-Pacific analysis that result in an artificially high royalty rate.

292. Mr. Musika consistently refers to Apple’s “unwillingness” to negotiate a license at
essentially any price as a basis to argue for a high royalty rate.°*° Mr. Musika appears to use
this argument to establish a very high royalty rate, even on intellectual property that has little
impact on the sale of either party, as admitted by Mr. Musika. In his “Market Approach” section,
Mr. Musika states that “Apple’s policy is to not license to anyone its design elements as
represented by Apple’s asserted design patents and trade dress. Accordingly, this sets a very

high but un-quantifiable rate for Apple’s asserted design patents and trade dress.”°*’

293. For example, Mr. Musika admits that Apple would not lose any profits based on
Samsung’s infringement of the trademark icons, yet he still concludes that the “reasonable”
royalty rate for Samsung’s infringement of any trademark icon would be $22 per unit, stating
that “[d]ue to the extreme importance of Apple’s design to its corporate success and future, |
have assigned the high end of the range for the licensing of all design related assets as a
whole. Further, Apple has consistently and emphatically rejected any consideration of allowing a
competitor to utilize Apple’s proprietary design elements. Therefore, although Apple has refused
to license any of its design related assets and would consider the license of one as injurious as
licensing the group, the “Made for iPod" program rate of $4.00 per unit is considered a floor

royalty for the license of any individual item within this group.”°

294. Mr. Musika is essentially arguing that Apple would never license the design-
related intellectual property, therefore the rate for any element of design-related IP should be
artificially high. This is inappropriate for two reasons. First, if Apple would never have licensed
the IP, then a reasonable royalty is not an appropriate remedy in this case. Indeed, in a recent

N.D. of California decision, Judge Phyllis Hamilton granted a motion for judgment as a matter of

38 Musika Report, pp. 28, 56, 65, 71, 73, Exhibits 42, 43, 45, 46. [2.2]
57 Musika Report, p. 56. [2.2]
698 Musika Report, Exhibit 45, 46. [2.2]

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law in a copyright matter that the plaintiff is not entitled to actual damages in the form of a

hypothetical license.*°°

295. Evenif Apple is entitled to seek a reasonable royalty for the alleged infringement,
Mr. Musika is claiming to do so under a Georgia-Pacific analysis. However, the 15" factor
describes the licensing circumstances clearly, requiring that both parties would be “reasonably
and voluntarily trying to reach an agreement” and the licensor “was willing to grant a license.”
Clearly, Mr. Musika is not following these required assumptions of the Georgia-Pacific analysis

in his conclusions.

f) Mr. Musika’s concluded royalty rate is unreasonably high.

296. As described above, Mr. Musika relies on benchmarks that provide overstated
values and are not reliable indicators of the value of the specific intellectual property at issue in
this lawsuit. In addition, Mr. Musika does not consider several benchmarks that would have
resulted in significantly lower reasonable royalty rates. Therefore, Mr. Musika’s concludes a
royalty rate that is unreasonably high and would not be agreed to by Samsung, or any other

willing licensor.

7. Mr. Musika’s discussion of the irreparable harm done to Apple is divorced
from actual market conditions.
297. Mr. Musika asserts that “the damages amounts expressed [in his report] do not
represent a complete measure of the total damages that Apple has and will continue to

”64" However, Mr. Musika offers little to no evidence,

experience due to Samsung’s conduct.
beyond cursory conjecture, that such irreparable harm has occurred, is occurring, or will occur
in the future. The data, shown in the five figures below, show that Apple is far from suffering

irreparable harm.

39 Oracle USA, Inc., et al. v. SAP AG, ef al., Order Granting Defendants’ Motion for JMOL , and Motion
for New Trial; Order Denying Plaintiffs’ Motion for New Trial; Order Partially Vacating Judgment,
September 1, 2011, p. 10. [15.13]

“9 Musika Report, p. 87. [2.2]

1 Musika Report, p. 27. [2.2]

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Figure 37: Apple US iPhone Sales by Quarter™”

Apple US iPhone Sales by Quarter

{st iPhone IPhene 3G iPhone 36S iPhone 4 Verizon iPhone 4 IPhone 45
Released (US) Released (US) Released (US: Reteased (US) Released (US} Released (US)
(June 29, 2007} fouty 11, 2003) (June 19, 2009) (June 24,2019) | | (February 10, 2011) | | (Qctober 14, 2071}

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O2 03 O4 QL O2 Q3 O4 QL G2 Q3 4 Qi Q?2 3 O4+ Q1 Q2 a3 O4
2007) 9 20G7 2007 2008 2008 2008 2008 2009 2009 2009 209 2010 21 RG GG eA 2ULi 2011

Apple Calendar Quarter

298. The chart above shows Apple’s U.S. iPhone sales by quarter from the release of
the first iPhone through G4 2011. Apple’s iPhone sales enjoyed a relatively steady climb from
introduction through Q1 2011. After a short lull, during which no new iPhone iterations were
released, Apple’s smartphone sales skyrocketed to approximately fifteen million units in the
fourth quarter of 2011, the quarter during which the iPhone 4S launched. As shown of the

graph, this more than doubled the previous record of around seven million units during Q1 2011

with the launch of the Verizon iPhone 4.

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Figure 38: Smartphone Average Selling Prices in the U.S., Q2 2007 Through Q4 2011°*

Smartphone Average Selling Prices in the U.S., Q2 2007 Through Q4 2011

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fi ZU aun U8 FUE 200 AU 4004 2UU8 2004 TT UA A AAU ALL
Calendar Quarter
=——Appie Smartphone ASP ——=Sanisung Smartphone AST

299. The above chart shows Apple’s iPhone ASP alongside Samsung’s smartphone
ASP from Q2 2007 through Q4 2011. As illustrated, Apple has maintained a consistent and
sizeable premium over Samsung. In other words, Apple would be hard pressed to argue that its
smartphone offering has suffered any price erosion at the hand of Samsung’s products. In fact,

Apple’s ASP has consistently increased since Q3 2009.

3 Schedule 18. [1.2]

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